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     1:19-cv-00377-LEK-KJMDocDocument
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                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
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     1:19-cv-00377-LEK-KJMDocDocument
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                                   Document
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     1:19-cv-00377-LEK-KJMDocDocument
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                                   Document
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     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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          2:18-cv-05620-MLCF-JVM         Filed:1-2
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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          2:18-cv-05620-MLCF-JVM         Filed:1-2
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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          2:18-cv-05620-MLCF-JVM         Filed:1-2
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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          2:18-cv-05620-MLCF-JVM         Filed:1-2
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     1:19-cv-00377-LEK-KJMDocDocument
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     1:19-cv-00377-LEK-KJMDocDocument
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          2:18-cv-05620-MLCF-JVM         Filed:1-2
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     1:19-cv-00377-LEK-KJMDocDocument
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
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                                       #: 2307
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    Case
     1:19-cv-00377-LEK-KJMDocDocument
                              #: 4441-1
          2:18-cv-05620-MLCF-JVM         Filed:Filed
                                   Document
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